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                                                  #:427


 1     Arjun Vasan
 2     12615 193rd Street
 3     Cerritos, CA 90703
 4     (562) 900-6541
 5     arjun.vasan@gmail.com
 6     Plaintiff In Pro Per
 7
 8
                                      UNITED STATES DISTRICT COURT
 9
                                    CENTRAL DISTRICT OF CALIFORNIA
10
11                                                          Case No.: 2:25-CV-00765-MEMF-JPR
       ARJUN VASAN,
12
                                      Plaintiff,
13                                                          NOTICE OF CLARIFICATION
                       v.
                                                            REGARDING DEFENDANT’S NOTICE OF
14
                                                            PENDENCY OF OTHER ACTION
15     CHECKMATE.COM, INC
16     (dba “Checkmate”),
17                                    Defendant.
18
19
20     TO THE HONORABLE COURT:

21
              Plaintiff Arjun Vasan respectfully submits this notice to clarify the status of the New York
22
       state court proceeding referenced in Defendant’s Notice of Pendency of Other Action or Proceeding
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       (ECF No. 23).
24
              Contrary to any implication of duplicative litigation by Plaintiff, the New York case was
25
       filed by Defendant Checkmate.com, Inc., after this action had already commenced in this Court.
26
       Plaintiff is not attempting to litigate in multiple forums but rather has taken steps to resolve the
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       duplication caused by Defendant’s parallel filing.
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 1
 2            Plaintiff intends to timely file a Notice of Removal of the New York state court action (Index
 3     No. 650913/2025) to the United States District Court for the Southern District of New York,
 4     pursuant to 28 U.S.C. §§ 1331, 1332, and 1446, on or before April 16, 2025. This will consolidate
 5     both actions in federal court and eliminate duplication caused by Defendant’s secondary filing.
 6            Plaintiff further notes that the Summons filed by Defendant in the New York action identifies
 7     an address in Sugar Land, Texas (15 Greenlaw Street) that does not belong to Plaintiff. That address
 8     is associated with an unrelated individual who shares Plaintiff’s name but has no connection to this
 9     action. The use of this incorrect address appears again in Defendant’s Motion to Dismiss or Transfer,
10     where it is cited in support of jurisdictional arguments, raising concerns about misrepresentation.
11            Despite Plaintiff’s requests, Defendant continues to rely on a known incorrect address in its
12     filings—an act that risks misleading the Court on jurisdictional facts central to the pending motion.
13            Plaintiff provides this clarification to assist the Court in accurately evaluating the pending
14     Motion and related filings.
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16
17                                                                   Respectfully Submitted,
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20
                                                                     Arjun Vasan
       Dated: Friday, April 11, 2025                                 _________________________________
21                                                                   Arjun Vasan
22                                                                   Plaintiff In Pro Per
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